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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                          RICHMOND DIVISION




JOHN COREY FRASER, on behalf of himself and
all other similarly situated as a Class,

                         Plaintiff,                  Civil Action No.
                                                     3:22-cv-00410-REP
      v.

BUREAU OF ALCOHOL, TOBACCO,
FIREARMS, AND EXPLOSIVES et al.,

                         Defendants.



       AMICUS BRIEF OF EVERYTOWN FOR GUN SAFETY IN SUPPORT
      OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT

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                       CORPORATE DISCLOSURE STATEMENT

         Everytown for Gun Safety (formally, Everytown for Gun Safety Action Fund) has no

parent corporations. It has no stock; hence, no publicly held company owns 10% or more of its

stock.




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                              INTEREST OF AMICUS CURIAE

       Everytown is the nation’s largest gun-violence-prevention organization, with nearly ten

million supporters across the country. Everytown was founded in 2014 as the combined effort of

Mayors Against Illegal Guns, a national, bipartisan coalition of mayors combating illegal guns and

gun trafficking, and Moms Demand Action for Gun Sense in America, an organization formed

after a gunman murdered twenty children and six adults at an elementary school in Newtown,

Connecticut. Everytown also includes a large network of gun-violence survivors who are

empowered to share their stories and advocate for responsible gun laws, as well as a national

movement of high school and college students working to end gun violence. 1

       Over the past several years, Everytown has devoted substantial resources to researching

and developing expertise in historical firearms legislation. Everytown has drawn on that expertise

to file more than 50 amicus briefs in Second Amendment and other firearms cases, offering

historical and doctrinal analysis, as well as social science and public policy research, that might

otherwise be overlooked. Several courts have expressly relied on Everytown’s amicus briefs in

deciding Second Amendment and other firearms cases. See Ass’n of N.J. Rifle & Pistol Clubs, Inc.

v. Att’y Gen. N.J., 910 F.3d 106, 112 n.8 (3d Cir. 2018); Rupp v. Becerra, 401 F. Supp. 3d 978,

991-92, 992 n.11 (C.D. Cal. 2019), vacated and remanded, No. 19-56004, 2022 WL 2382319 (9th

Cir. June 28, 2022); Teter v. Connors, 460 F. Supp. 3d 989, 1002-03 (D. Haw. 2020), appeal

docketed, No. 20-15948 (9th Cir. May 19, 2020); see also Rehaif v. United States, 139 S. Ct. 2191,

2210-11, 2210 n.4, 2211 n.7 (2019) (Alito, J., dissenting).




       1
         No party’s counsel authored this brief in whole or part and, apart from Everytown, no
person contributed money to fund its preparation or submission.

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                   INTRODUCTION AND SUMMARY OF ARGUMENT

       The federal criminal statutes and implementing regulations Plaintiff challenges in this case

make it unlawful for federally licensed firearms dealers (“FFLs”) to sell handguns, or the

ammunition for a handgun, to persons under the age of 21. Those statutes and regulations are

constitutional under the approach to Second Amendment cases set out in New York State Rifle &

Pistol Association v. Bruen, 142 S. Ct. 2111 (2022), for the reasons stated in the Memorandum in

Support of Defendants’ Motion to Dismiss Plaintiff’s Complaint (Dkt. 11) (“Defs.’ Mem.”). 2

Indeed, Justice Alito stated in his Bruen concurrence that evidence about gun violence affecting

children and adolescents was irrelevant to that case, explaining that “federal law generally forbids

the possession of a handgun by a person who is under the age of 18, and bars the sale of a handgun

to anyone under the age of 21,” 142 S. Ct. at 2157-58 (Alito, J., concurring) (emphasis added)

(citation omitted)—strongly suggesting that he saw nothing in Bruen to disturb those laws. 3

       Everytown for Gun Safety submits this amicus brief to address three points in further

support of dismissal. First, on the initial, textual inquiry of the Bruen framework, Plaintiff has the

burden—and, as discussed below, he has not met that burden. Second, in applying the historical

inquiry of the Bruen framework—asking whether the regulation is “consistent with the Nation’s

historical tradition of firearm regulation,” 142 S. Ct. at 2130—the analysis should center on 1868,

not 1791. This is as true for the federal statutes and regulations challenged in this case (to which

the Second Amendment applies directly) as it is for state gun laws (to which the Second




       2
         This amicus brief addresses only aspects of Plaintiff’s Second Amendment claim. The
Court should grant the motion to dismiss in its entirety for all the reasons Defendants set out. See
Defs.’ Mem. at 7-9 (Plaintiff lacks standing); id. at 9-20 (Second Amendment claim); id. at 20-22
(equal protection claim).
       3
         See also id. at 2157 (“Our holding decides nothing about who may lawfully possess a
firearm or the requirements that must be met to buy a gun.”).

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Amendment applies through its incorporation under the Fourteenth Amendment). Third, 1868 is

not a cutoff; examining “legal and other sources to determine the public understanding of a legal

text in the period after its enactment or ratification” is also “a critical tool of constitutional

interpretation.” District of Columbia v. Heller, 554 U.S. 570, 605 (2008) (second emphasis added).

                                            ARGUMENT

I.      Plaintiff Has Not Met His Burden to Establish that the Second Amendment’s Plain
        Text Covers His Conduct

        Bruen’s framework requires both a textual inquiry and a historical inquiry. The court first

must ask whether “the Second Amendment’s plain text covers an individual’s conduct.” 142 S. Ct.

at 2129-30. If so, the court then moves on to ask whether the government has shown that its

regulation is “consistent with the Nation’s historical tradition of firearm regulation.” Id. at 2130.

See generally id. at 2134-38 (separating application of test into Part III.A (text) and Part III.B

(history)).

        Plaintiff has the burden on the initial, textual inquiry. Bruen itself makes that clear, by

indicating that a presumption that the Constitution protects a plaintiff’s conduct arises after

(“when” or “because”) the textual inquiry is satisfied. See 142 S. Ct. at 2126, 2141 n.11. If the

burden were on the government throughout—in what would be an extraordinary departure from

ordinary principles of constitutional litigation—the Court would have said that the presumption

exists from the outset. Placing the initial burden on the plaintiff also accords with the Supreme

Court’s approach to other constitutional issues. For example, just a week after Bruen, the Court

announced in Kennedy v. Bremerton School District, 142 S. Ct. 2407 (2022), that, “[u]nder th[e]

Court’s precedents, a plaintiff bears certain burdens to demonstrate an infringement of his rights

under the Free Exercise and Free Speech Clauses. If the plaintiff carries these burdens, the focus

then shifts to the defendant to [justify] … its actions[.]” Id. at 2421.



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       Plaintiff has not met his textual burden in this case, for at least two reasons. First, Plaintiff

has not shown that the plain text of the Second Amendment covers 18-to-20-year-olds. In both

Bruen and Heller, there was no dispute that the plaintiffs—as “ordinary, law-abiding, adult

citizens,” Bruen, 142 S. Ct. at 2134 (emphasis added)—were part of “the people” whom the

Second Amendment protects. Id. (citing Heller, 554 U.S. at 580); see also Heller, 554 U.S. at 575-

76. Here, however, the question is a different one: whether those younger than 21 are considered

part of “the people” covered by the Amendment’s text. As recent scholarship by a leading Second

Amendment historian has confirmed, they are not. See Saul Cornell, “Infants” and Arms Bearing

in the Era of the Second Amendment: Making Sense of the Historical Record, 40 Yale L. & Pol’y

Rev. Inter Alia 1, 2 (2021) (explaining that, “when framed in historically correct terms,” the answer

to the question whether “the Second Amendment recognize[s] a right of infants, meaning those

under twenty-one, to keep and bear arms” is “simple: no”); see also Defs.’ Mem. at 11-12. That

alone is enough to defeat Plaintiff’s Second Amendment claim.

       Second, as Defendants explain, the challenged laws “regulate only commercial sales of

firearms and ammunition to persons under the age of 21, and only those sales by licensed dealers,

as opposed to private sales or gun shows.” Defs.’ Mem. at 8. Plaintiff has not met his burden, even

at the pleading stage, to adequately connect that regulation to the constitutional text: “keep and

bear.” Cf. United States v. Tilotta, No. 3:19-cr-4768, 2022 WL 3924282, at *5 (S.D. Cal. Aug. 30,

2022) (explaining that, “textually, the ordinary meaning of ‘keep and bear’ does not include ‘sell

or transfer’”); Defense Distributed v. Bonta, No. 2:22-cv-6200, 2022 WL 15524977, at *4 (C.D.

Cal. Oct. 21, 2022) (concluding that the Second Amendment’s plain text “quite-clearly” does not

include any “implicit[]” right to “acquire and manufacture firearms” or “to purchase arms”

(internal quotation marks omitted)), adopted by 2022 WL 15524983 (C.D. Cal. Oct. 24, 2022); see




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also Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d

185, 206 (5th Cir. 2012) (federal laws and regulations restricting licensed dealers from selling to

those under 21 “resemble ‘laws imposing conditions and qualifications on the commercial sale of

arms,’ which Heller deemed ‘presumptively lawful’” (quoting Heller, 554 U.S. at 626-27 &

n.26)). 4 For this reason, too, Plaintiff has not satisfied his textual burden under Bruen, and so his

Second Amendment claim fails as a matter of law.

II.    The Proper Focus for Analysis of Historical Regulation Is 1868, Not 1791

       If the Court proceeds to the second, historical inquiry, it should first conclude that the most

relevant time period for that inquiry centers on 1868, when the Fourteenth Amendment was

ratified. That ratification not only made the Second Amendment applicable to the states, but, as

scholars have explained, “it also requires an updated 1868 understanding of the Bill of Rights

itself.” Kurt T. Lash, Respeaking the Bill of Rights: A New Doctrine of Incorporation, 97 Ind. L.J.

1439, 1441 (2022); see Bruen, 142 S. Ct. at 2138. Accordingly, under this originalist approach, it

is the 1868 understanding of the right to keep and bear arms that should govern in all Second

Amendment cases after Bruen—including challenges, like this one, to federal gun laws.

       To begin with, in a case involving a state law, focusing on 1868 is the only way to answer

the originalist question: How did the people understand the right at the time of its adoption? There

was no right to keep and bear arms constraining the states under the U.S. Constitution until 1868;

as Bruen correctly observed, a state “is bound to respect the right to keep and bear arms because

of the Fourteenth Amendment, not the Second.” 142 S. Ct. at 2137. Thus, when the people chose

to extend the Bill of Rights to the states in 1868, their understanding of the scope of each right at



       4
        Justice Kavanaugh, joined by the Chief Justice, repeated that portion of Heller in his
Bruen concurrence. See 142 S. Ct. at 2162 (Kavanaugh, J., concurring).


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that time should control the originalist analysis today. In a case against a state, to elevate a

founding-era understanding of the right over the Reconstruction-era understanding would be to

reject what the people understood the right to be at the time they gave it effect.

       Several circuits reached this conclusion in analyzing the tradition of firearm regulation at

the first, historical step of the Second Amendment framework that courts applied prior to Bruen.5

See Gould, 907 F.3d at 669 (“Because the challenge here is directed at a state law, the pertinent

point in time would be 1868 (when the Fourteenth Amendment was ratified).”); Ezell v. City of

Chicago, 651 F.3d 684, 702 (7th Cir. 2011) (“McDonald [v. City of Chicago, 561 U.S. 742 (2010),]

confirms that if the claim concerns a state or local law, the ‘scope’ question asks how the right was

publicly understood when the Fourteenth Amendment was proposed and ratified.”); United States

v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012) (following Ezell). Bruen does nothing to alter that

conclusion.

       There is good reason for this to be the leading originalist view: insisting that the 1791

understanding should apply against the states does not make sense in light of the Supreme Court’s

lengthy analysis in McDonald of the understanding of the right to keep and bear arms around 1868.

See McDonald, 561 U.S. at 770-78 (plurality opinion); id. at 826-38 (Thomas, J., concurring in

part and concurring in the judgment). It would be extraordinary if the public understanding of the

right in 1868 were so central to whether the right was incorporated against the states, but irrelevant

to what right was incorporated. That is presumably why the Seventh Circuit, in an opinion by


       5
         Between Heller and Bruen, every federal court of appeals to address the issue concluded
that analyzing Second Amendment claims should proceed in two steps: a historical step, in which
courts examined whether the challenged law restricted conduct falling within the scope of the
Second Amendment, as historically understood; and, if so, a means-end scrutiny step, where courts
examined the fit between the government’s interest and the challenged law, usually under
intermediate scrutiny. See Bruen, 142 S. Ct. at 2126-27; Gould v. Morgan, 907 F.3d 659, 668 (1st
Cir. 2018) (citing cases), criticized by Bruen, 142 S. Ct. at 2124, 2126-27.


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Judge Sykes, reads McDonald to have “confirm[ed] that when state- or local-government action is

challenged, the focus of the original-meaning inquiry is carried forward in time; the Second

Amendment’s scope as a limitation on the States depends on how the right was understood when

the Fourteenth Amendment was ratified.” Ezell, 651 F.3d at 702.

       Further confirmation that 1868 is the correct focus, at least as to Second Amendment

challenges to state gun laws, appears in the Bruen oral argument, where the following exchange

took place between Justice Thomas and former Solicitor General Paul Clement as counsel for the

NRA’s New York affiliate:

       JUSTICE THOMAS: [Y]ou mentioned the founding and you mentioned post-
       Reconstruction. But, if we are to analyze this based upon the history or tradition,
       should we look at the founding, or should we look at the time of the adoption of the
       Fourteenth Amendment, which then, of course, applies it to the states?

       MR. CLEMENT: So, Justice Thomas, I suppose, if there were a case where there
       was a contradiction between those two, you know, and the case arose in the states,
       I would think there would be a decent argument for looking at the history at the
       time of Reconstruction … and giving preference to that over the founding.

Tr. of Oral Arg. at 8:2-17, Bruen (No. 20-843).

       To be sure, the choice between 1791 and 1868 is a less straightforward one with respect to

challenges, like this one, to federal gun laws, to which the Second Amendment applies directly

rather than through the Fourteenth Amendment. If the public understanding of the Bill of Rights

changed between ratification in 1791 and incorporation in 1868, then “[o]riginalists seem,” at first

glance, to be “forced to either abandon originalism or accept a world in which we have two Bills

of Rights, one applicable against the federal government and invested with 1791 meanings and

one incorporated against the states and invested with 1868 meanings.” Lash, 97 Ind. L.J. at 1441.

But Bruen rejected the possibility of different standards for the state and federal governments. 142

S. Ct. at 2137 (“[W]e have made clear that individual rights enumerated in the Bill of Rights and




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made applicable against the States through the Fourteenth Amendment have the same scope as

against the Federal Government.”). Accordingly, originalists must justify applying either the 1868

understanding or the 1791 understanding (where they conflict) to all levels of government.

       Existing doctrine does not resolve this choice between 1791 and 1868: Bruen noted prior

decisions that had “assumed” that the scope for both state and federal governments “is pegged to

the public understanding … in 1791.” Id. But if the majority believed those decisions controlled

the issue, it would have said so. Instead, the Court expressly left open the question whether 1868

or 1791 is the relevant focus, and pointed to “ongoing scholarly debate on whether courts should

primarily rely on the prevailing understanding of an individual right when the Fourteenth

Amendment was ratified in 1868 when defining its scope (as well as the scope of the right against

the Federal Government).” Id. at 2138. And the Court then cited two scholars who support the

1868 view, Professors Akhil Amar and Kurt Lash, and none who supports the 1791 view. See id.

(citing Akhil Reed Amar, The Bill of Rights: Creation and Reconstruction xiv, 223, 243 (1998),

and Kurt T. Lash, Re-Speaking the Bill of Rights: A New Doctrine of Incorporation (Jan. 15, 2021)

(manuscript, at 2), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3766917 (now published

at 97 Ind. L.J. 1439)).

       On Professor Amar’s account, when the Fourteenth Amendment was ratified, then-

contemporary understandings of incorporated rights could transform their meaning not only

against the states, but also as to the federal government. 6 More recently, Professor Lash wrote—



       6
          See Amar, The Bill of Rights, at xiv (account is “attentive to the possibility” that a
“particular principle in the Bill of Rights may change its shape in the process of absorption into
the Fourteenth Amendment”); id. at 223 (“[W]hen we ‘apply’ the Bill of Rights against the states
today, we must first and foremost reflect on the meaning and spirit of the amendment of 1866, not
the Bill of 1789. … [I]n the very process of being absorbed into the Fourteenth Amendment,
various rights and freedoms of the original Bill may be subtly but importantly transformed[.]”); id.
at 243 (arguing that “the Fourteenth Amendment has a doctrinal ‘feedback effect’ against the


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as quoted in Bruen—“When the people adopted the Fourteenth Amendment into existence, they

readopted the original Bill of Rights, and did so in a manner that invested those original 1791 texts

with new 1868 meanings.” Lash, manuscript, at 2; see Bruen, 142 S. Ct. at 2138. On this view,

too, 1868 meanings bind both the states and the federal government.

       The 1868 view is also consistent with the passage in Bruen instructing the lower courts on

historical methodology through the example of sensitive places restrictions. There, the Court

indicated that “18th- and 19th-century” laws contained adequate restrictions on the possession of

guns in legislative assemblies, polling places, and courthouses to satisfy its historical analysis, 142

S. Ct. at 2133 (emphasis added)—an incomprehensible statement if the Court believed that the

18th century was the only relevant period. Notably, in the pages of the article and brief the Court

cited for that proposition, see id., all of the 19th-century laws restricting guns in any of the three

locations the Court listed were from the late 19th century. 7

       In the end, for the reasons set out in Defendants’ motion papers, this Court should uphold

the challenged statutes and regulations, and dismiss Plaintiff’s Second Amendment claim, whether

it focuses on the period around 1791 or the period around 1868. See, e.g., Defs.’ Mem. at 11-16;

see also Nat’l Rifle Ass’n, 700 F.3d at 204 (“Modern restrictions on the ability of persons under

21 to purchase handguns … seem, to us, to be firmly historically rooted.”). But if this Court prefers




federal government”); see also id. at 283 (“[W]ords inserted into the Constitution in 1791 must be
read afresh after 1866.”).
       7
          See David B. Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine, 13
Charleston L. Rev. 205, 244-47 (2018) (citing 1870 Louisiana law, 1874 and 1886 Maryland laws,
1873 Texas law, and 1874 decision upholding 1870 Georgia law); Br. for Indep. Inst. as Amicus
Curiae at 11-17, Bruen (No. 20-843) (July 20, 2021) (disputing relevance of 19th-century laws but
(at 16 n.10) citing 1869 Tennessee, 1870 Texas, and 1890 Oklahoma laws that prohibited guns in
(among others) polling places).


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to settle the issue the Supreme Court left open, it should conclude that 1868, not 1791, is the correct

focus for the historical inquiry.

III.   The Historical Inquiry Continues Beyond 1868

       In recognizing that the period around 1868 is most relevant in determining the scope of the

right, this Court should acknowledge that 1868 is not a cutoff; Heller instructs that “examination

of a variety of legal and other sources to determine the public understanding of a legal text in the

period after its enactment or ratification” is also “a critical tool of constitutional interpretation.”

554 U.S. at 605 (second emphasis added); see also Bruen, 142 S. Ct. at 2127-28 (quoting same).

Bruen clarified that, under this passage in Heller, materially later history that contradicts the

established original meaning of the constitutional text at the relevant point in time would not

change that meaning. See 142 S. Ct. at 2137, 2154 n.28. But it emphasized that, conversely, “a

regular course of practice can liquidate [and] settle the meaning of disputed or indeterminate terms

[and] phrases in the Constitution.” Id. at 2136 (cleaned up) (quoting decision quoting James

Madison).

       Here, state laws from the second half of the 19th century establish the meaning of the right

to keep and bear arms at the time of the Fourteenth Amendment’s adoption, and speak with one

voice. See, e.g., Defs.’ Mem. at 12 (noting that “[d]uring the nineteenth century, 19 States and the

District of Columbia enacted laws expressly restricting the ability of persons under 21 to purchase

or use particular firearms, or restricting the ability of ‘minors’ while the state’s age of majority

was set at 21.”). But even if this Court were to conclude (contrary to the scholars the Supreme

Court cited) that the relevant date is 1791, not 1868, and even if it were to conclude (contrary to

what Defendants have shown) that the status of the right vis-à-vis those under 21 was uncertain at

the time of the founding, it should then consider the 19th-century evidence and recognize that it

“settle[s] the meaning of” the right as one that did not extend to those under 21—and that allows


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for laws like the statutes and regulations challenged here. It is, after all, simply not plausible for

the Plaintiff to contend that today’s generation, 231 years removed from the Second Amendment’s

ratification, is better able to determine the 1791 meaning of its text than was the Reconstruction

generation, 77 years removed.

                                          CONCLUSION

       The Court should grant Defendants’ motion to dismiss Plaintiff’s Complaint.

 Dated: November 15, 2022                      Respectfully submitted,

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